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                ALBERT MUHAMMAD
            5

            6                           UNITED STATES DISTRICT COURT

            7                          EASTERN DISTRICT OF CALIFORNIA

            8                                    *   *   *   *   *

            9                                        |
                UNITED STATES OF AMERICA,            |       Case No. CR F 07-254 LJO
           10                                        |
                              Plaintiff,             |       ORDER
           11   vs.                                  |
                                                     |
           12                                        |
                ALBERT MUHAMMAD,                     |
           13                                        |
                        Defendant.                   |
           14                                        |

           15   DEFENDANT’S MOTION requesting a Psychiatric Re-Examination and

           16   Hearing, pursuant to 18 U.S.C. §§4241(b) was presented on July 17,

           17   2009 before the Honorable Judge Lawrence J. O’Neill.              After review

           18   of the pleadings and hearing discussion on the matter, wherein the

           19   government declined to oppose the motion, the Court found good

           20   cause and issued the following Order:

           21   1.      The motion requesting examination to determine the

           22           Defendant’s competence to stand trial is granted.

           23

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                     Case 1:07-cr-00254-LJO Document 247 Filed 07/17/09 Page 2 of 2


            1   2.       All criminal proceedings shall be suspended pending the

            2            conclusion of the psychiatric examination and issuance of the

            3            report on the Defendant’s competence to stand trial.

            4   3.       Defendant’s counsel shall contact the examining psychiatrist,

            5            Howard Terrell, and make arrangements for the examination.

            6   4.       The status hearing shall be continued to July 31, 2009, at

            7            8:45 am in Courtroom 4.

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           14   IT IS SO ORDERED.

           15   Dated:     July 17, 2009                 /s/ Lawrence J. O'Neill
                b9ed48                               UNITED STATES DISTRICT JUDGE
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